                   Case 2:12-cv-01282-JLR Document 623 Filed 06/09/20 Page 1 of 5




 1                                                   THE HONORABLE JAMES L. ROBART
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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                    No. 2:12-cv-01282-JLR
10                           Plaintiff,           DECLARATION OF DAVID A. PEREZ IN
                                                  SUPPORT OF COMMUNITY POLICE
11            v.                                  COMMISSION’S RESPONSE TO
                                                  PARTIES’ STIPULATED, JOINT MOTION
12   CITY OF SEATTLE,                             TO TERMINATE PARAGRAPHS 69-168
                                                  OF THE CONSENT DECREE
13                           Defendant.
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      DECLARATION OF DAVID A. PEREZ                                       Perkins Coie LLP
                                                                 1201 Third Avenue, Suite 4900
      (No. 2:12-cv-01282-JLR)                                      Seattle, WA 98101-3099
                                                                     Phone: 206.359.8000
                                                                      Fax: 206.359.9000
     148307851.1
              Case 2:12-cv-01282-JLR Document 623 Filed 06/09/20 Page 2 of 5




 1          I, David A. Perez, hereby declare:
 2                 I have personal knowledge of the facts stated below and am competent to testify
 3   regarding the same.
 4          1.     I am a partner at Perkins Coie LLP, and outside counsel to the Community Police
 5   Commission (“CPC”).
 6          2.     Attached as Exhibit A is a true and correct copy of a statement read by Carolyn
 7   Riley-Payne, the NAACP Seattle King County President, on May 11, 2020, which was
 8   downloaded from https://www.seattlekingcountynaacp.org/press-releases-and-
 9   statements/presidents-statement-read-at-seattle-city-council-today-on-ending-the-consent-decree
10   on or about June 8, 2020.
11          3.     Attached as Exhibit B is a true and correct copy of a statement by Seattle City
12   Attorney Pete Holmes, which was issued on June 3, 2020, and which was downloaded from
13   https://news.seattle.gov/2020/06/03/city-attorney-to-withdraw-consent-decree-motion/ on or
14   about June 8, 2020.
15          4.     Attached as Exhibit C is a true and correct copy of a statement by Mayor Jenny
16   Durkan, which was issued on June 3, 2020, and which was downloaded from
17   https://durkan.seattle.gov/2020/06/statement-from-mayor-jenny-durkan-on-the-consent-decree/
18   on or about June 8, 2020.
19          5.     Attached as Exhibit D is a true and correct copy of a press release by the Seattle
20   Office of Police Accountability, which was issued on June 1, 2020, and which was downloaded
21   from https://www.seattle.gov/Documents/Departments/OPA/PressReleases/06-01-20_OPA-
22   Press-Release-Following-Demonstrations.pdf on or about June 8, 2020.
23          6.     Attached as Exhibit E is a true and correct copy of Section 14.090 of the Seattle
24   Police Department Manual, which was downloaded from https://www.seattle.gov/police-
25   manual/title-14---emergency-operations/14090---crowd-management on or about June 8, 2020.
26
      DECLARATION OF DAVID A. PEREZ                                          Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
      (No. 2:12-cv-01282-JLR) –1                                         Seattle, WA 98101-3099
                                                                           Phone: 206.359.8000
                                                                            Fax: 206.359.9000
              Case 2:12-cv-01282-JLR Document 623 Filed 06/09/20 Page 3 of 5




 1          7.      Attached as Exhibit F is a true and correct copy of an article from The Seattle
 2   Times by Daniel Beekman entitled ‘No sense of de-escalation’ at crucial moment during latest
 3   Seattle protest, videographer says, which was downloaded from
 4   https://www.seattletimes.com/seattle-news/politics/no-sense-of-de-escalation-at-crucial-moment-
 5   during-latest-seattle-protest-videographer-says/ on or about June 8, 2020.
 6          8.      Attached as Exhibit G is a true and correct copy of an article from MYNorthwest
 7   by Nick Bowman entitled Seattle council questions SPD’s use of tear gas, mace during weekend
 8   protests, which was downloaded from https://mynorthwest.com/1907176/seattle-council-police-
 9   tear-gas-mace-protests/ on or about June 8, 2020.
10          9.      Attached as Exhibit H is a true and correct copy of an article from The New York
11   Times by Mike Baker entitled Corrosive Effects of Tear Gas Could Intensify Coronavirus
12   Pandemic, which was downloaded from https://www.nytimes.com/2020/06/03/us/tear-gas-risks-
13   protests-coronavirus.html on or about June 8, 2020.
14          10.     Attached as Exhibit I is a true and correct copy of a letter sent by the CPC on
15   June 13, 2016, which raises concern over blast balls in light of their “documented serious injuries
16   to bystanders and observers.”
17          11.     Attached as Exhibit J is a true and correct copy of an article from The Seattle
18   Times by Lewis Kamb entitled Seattle police continue to use ‘flash-bang’ grenades during
19   protests, despite recommendations, which was downloaded from
20   https://www.seattletimes.com/seattle-news/seattle-police-continue-to-use-flash-bang-grenades-
21   during-protests-despite-recommendations/ on or about June 8, 2020.
22          12.     Attached as Exhibit K is a true and correct copy of an article from The Seattle
23   Times by Naomi Ishisaka entitled Now isn’t the time to backpedal on consent decree in Seattle as
24   George Floyd protests unfold, which was downloaded from
25   https://www.seattletimes.com/seattle-news/george-floyd-protests-spotlight-need-for-police-
26   reform-even-in-times-of-coronavirus/ on or about June 8, 2020.
                                                                               Perkins Coie LLP
      DECLARATION OF DAVID A. PEREZ                                     1201 Third Avenue, Suite 4900
      (No. 2:12-cv-01282-JLR) –2                                          Seattle, WA 98101-3099
                                                                            Phone: 206.359.8000
                                                                             Fax: 206.359.9000
              Case 2:12-cv-01282-JLR Document 623 Filed 06/09/20 Page 4 of 5




 1          13.     Attached as Exhibit L is a true and correct copy of excerpts from the 2019
 2   Annual Report by the Office of Police Accountability, which was downloaded from
 3   https://www.seattle.gov/Documents/Departments/OPA/Reports/2019-Annual-Report.pdf on or
 4   about June 8, 2020.
 5          14.     Attached as Exhibit M is a true and correct copy of an article from The Seattle
 6   Times by Steve Miletich entitled As complaints pour in about police at Seattle protests, city will
 7   withdraw request that could lift federal oversight, which was downloaded from
 8   https://www.seattletimes.com/seattle-news/crime/after-days-of-seattle-protests-city-will-
 9   withdraw-request-to-remove-police-force-from-federal-oversight/ on or about June 8, 2020.
10          15.     Attached as Exhibit N is a true and correct copy of an e-mail sent to the Monitor
11   team on May 15, 2020, which states that “the City cannot agree to extend the timeline past the
12   end of June without a ruling from the Court.”
13

14          EXECUTED this 9th day of June, 2020, at Seattle, Washington.
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16                                                /s/ David A. Perez
                                                  David A. Perez
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                                                                               Perkins Coie LLP
      DECLARATION OF DAVID A. PEREZ                                      1201 Third Avenue, Suite 4900
      (No. 2:12-cv-01282-JLR) –3                                           Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
                                                                              Fax: 206.359.9000
              Case 2:12-cv-01282-JLR Document 623 Filed 06/09/20 Page 5 of 5




 1
                                       CERTIFICATE OF SERVICE
 2           I certify under penalty of perjury that on June 9, 2020, I caused the foregoing document
 3   to be electronically filed with the Clerk of the Court using the CM/ECF system, which will send
 4   notification of such filing to all attorneys of record.
 5           DATED this 9th day of June, 2020.
 6
                                                          s/ David A. Perez
 7                                                        DPerez@perkinscoie.com

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26    CERTIFICATE OF SERVICE
      (No. 2:12-cv-01282-JLR ) –4                                             Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
                                                                          Seattle, WA 98101-3099
                                                                            Phone: 206.359.8000
                                                                             Fax: 206.359.9000
